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Exhibit
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Preamble,
Ad 7 Geo. 2.
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who is, are, or thall be owner or owners of any fhip or ve fel,
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cry, embezzlement, feeretine 8 Or making away with,
of any g we oid, filver, diamonds » Jewels, precious ftones, cr othes
goods or ‘ merchandize, which, from and after the frit day of
September, one thenfland feven ‘bundre ed and eighty-fix, fhall be
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fhipped, taken in, or put on baard any fhip or vefel, or for and the
any eet, matter, or thing, damage or forfeiture, done, occa- freight, after
fioned, or incurred, from and after the paffing of this act, with- Sept. ty 17985
ovr the privity and knowledge of fuch owner or owners, fur-
ther than the value of the fhip or veffel, with all her appurte-
pances, and the full amount of the freight due or to grow due
for acd curing the voyage wherein fuch robbery, embezzle-
ment, fecreting, or making away with, as aforefaid, fhall be
made, committed, or done, alshough the mafter or mariners
{hall not be in any wife concerned in or privy to fuch robbery,
embezzlement, fecresing, or making away with; any law,
ufage, or cullom, to the contrary thereof in any-wife notwith-
ftanding.

IL. And be it further enacted by the authority aforefaid,
That no owner or owners of any fhip or veffel fhall be fabject nor for any .
or liable to znfwer for or make good, to any one or more pér- lols occallons
fon or perfons, any lols or damage which may happen to any soa on
goods or merchandize whatfoever, which, from and after the °
frit day of September, one thoufand feven hundred and cighty~
fix, fpail be dhipped, taken in, or put on board any fuch fhip or
veffel, by reafon or means of any fire happening to or on board
the faid thip or veffel.

TIL. And whereas difputes may arife, whether the ewners or maf=
ters of feips are liable to anfiver or make good the value or amount of
any gold, filver, diamonds, watches, jewels, or precious /tones, which
may be lofi after the fame have been put on board their foips on
freight, without the /rippers thereof Ceclaring at the time the value
of fuch goods; be it therefore enacted by the authority aforelaid,
‘That no mafter, owner or cwaers, of any fnip or veilel, fhall nor for fof%
be fubject or liable to anfwer for, or make good, to any one or of gold, etc,
more perfon or perfons, any lofs or damage which may happen tunlels at kee
to any gold, filver, diamonds, watches, jewels, or PreciGUs ping geclae
ftones, which, from and after the paffing of this act, (hall be ration be
fhipped, taken in, or put on board any fuch fhip or veflel, by made of the
reafon or means of any robbery, embezziement, making away value, eC
with, or fecreting thereof, unlefs the owner or fhipper thereof
fhall, at the time of fhipping the fame, infert in his bill of lad-
ing, or otherwife declare in writing to the mafter, owner or
owners, of fuch (hip or vefiel, the true nature, quality, and
value of fuch gold, filver, diamonds, watches, jewels, or pre-
cipas ones.

IV. And be it further enafed by the authority aforefaid,
That if te-erl freighters or proprietors of any fuch goid, filver, If produce of
diamonds, jewels, precious ftones, or other goods or merchan- fhip, etc. be
dize, (rail faffer any lofs or damage by any of the means afore- tnieiicien’ to
faid, in the fame voyage (fire only excepted), and the value of it istobe
che fhip or veffel, with all her appurtenances, and the amount preportional-

of the freight due or to grow due during fuch voyage, tail not ly one

be fufficient to make full compenfation to all and every of pore
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° Preighters _lofles Or damages: and in every fach cafe, it fhall and may be
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fels ma Sony : Hea my
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That if any ech bi Hl dhall be exhibited by or on the behalf of

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offer 9 pey the value of fach {hio or veffel 9 appurtenances, and

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V. Provided a always, and it is hereby declared and enacted,

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